Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 1 of 55 Page ID #:10




                 EXHIBIT “A”
    Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 2 of 55 Page ID #:11


                                                                                                                                                    SUM-100
                                                   SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)
                                                                                                                    Electronically FILED by
 NOTICE TO DEFENDANT:                                                                                               Superior Court of California,
                                                                                                                    County of Los Angeles
(AVISO AL DEMANDADO):
                                                                                                                    2/23/2024 4:07 PM
                                                                                                                    David W. Slayton,
 CVS PHARMACY, Inc., a corporation; and GARFIELD BEACH CVS, LLC; and DOES 1 to 20
                                                                                                                    Executive Officer/Clerk of Court,
                                                                                                                    By M. Vargas, Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

 JUDY WELTSCH, an individual

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaciOn a
 continuacion.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
 code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la code y mas informaci6n en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentaciOn, pida al secretario de la code que
 le c/a un formulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
 guitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en con/ado con la code o el
 colegio de abogados locales. AVISO:Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,0006 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la code pueda desechar el caso.
                                                                                               CASE NUMBER:
 The name and address of the court is:                                                        (NOmero del Caso):
(El nombre y direcciOn de la code es): Chatsworth Courthouse
                                                                                                       24CHCV00570
9425 Penfield Ave. Chatsworth, CA. 91311

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante que no.tiene abogado, es):
 Mark Ruszecki. Esq.; 10200 Culver Blvd. Culver City, CA. 90232;(310)858-1818 "                        •

 DATE:                                                                        Clerk, by                            M. Vargas                        , Deputy
(Fecha)
               02/2312024                                                     (Secretario)                                                          (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1.          as an individual defendant.
                                      2.          as the person sued under the fictitious name of (specify):

                                                                             CVS PHARMACY, Inc., a corporation;
                                      3.    XX    on behalf of(soecify):
                                           under: XX      CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                          other (specify):
                                      4.          by personal delivery on (date):
                                                                                                                                                        Page 1 of 1
 Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California
                                                                      SUMMONS
                                                                                                                                                  www.courts.ca.gov
  SUM-100 (Rev. July 1,20091

3rivacy, please press the Clear This Form button after In
                                                                  Print this form          Save this form •                           !Clear this form
   Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 3 of 55 Page ID #:12


                                                                                                                                        PLD-PI-001
ATTORNEY OR PARTY WITHOUT ATTORNEY                              STATE BAR NUMBER: 242435                           FOR COURT USE ONLY
 NAME, Mark Ruszecki, Esq.
FIRM NANIEJAVAHERIAN & RUSZECKI, PC
STREET ADDRESS: 10200 Culver Blvd.                                                                       Electronically FILED by
CITY: Culver City                                              STATE:CA      ZIP CODE:99232
                                                                                                         Superior Court of California,
                                                                                                         County of Los Angeles
TELEPHONE NO.:(310)858-1818                                    FAX NO.:(310)858-1815
                                                                                                         2/23/2024 4:07 PM
EMAIL ADDRESS: LitigatiOngial'UlaW.COM                                                                   David W. Slayton,
ATTORNEY FOR (name):Plaintiff: JUDY WELTSCH                                                              Executive Officer/Clerk of Court,
                                                                                                         By M. Vargas, Deputy Clerk-
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                       _
 STREET ADDRESS:9425 Penfield Ave.
 MAILING ADDRESS:9425 Penfield Ave.
CITY AND ZIP CODE:ChatSWOrth, CA. 91311
    BRANCH NAmE:NORTH VALLEY

    PLAINTIFF:JUDY WELTSCH an individual
 DEFENDANT:CVS PHARMACY, Inc., a corporation; and GARFIELD BEACH CVS, LLC; and
          DOES 1 TO 20
                                                                                                    CASE NUMBER:
COMPLAINT—Personal Injury, Property Damage, Wrongful Death
      AMENDED (Number):
Type (check all that apply):
     MOTOR VEHICLE           x OTHER (specify): Premises Liability
          Property Damage       Wrongful Death
          Personal Injury       Other Damages (specify):
Jurisdiction (check all that apply):                                                                   24CHCV00570
     ACTION IS A LIMITED CIVIL CASE (does not exceed $35,000)
      Amount demanded             does not exceed $10,000
                                  exceeds $10,000
     ACTION IS AN UNLIMITED CIVIL CASE (exceeds $35,000)
     ACTION IS RECLASSIFIED by this amended complaint
           from limited to unlimited
           from unlimited to limited
1. Plaintiff(name or names): JUDY WELTSCH, an individual
     alleges causes of action against defendant(name or names):
   CVS PHARMACY. Inc.. a corporation: and GARFIELD BEACH CVS. LLC: and DOES 1 to 20
2. This pleading, including attachments and exhibits, consists of the following number of pages:
3. Each plaintiff named above is a competent adult
     a.           except plaintiff(name):
                (1)            a corporation qualified to do business in California.
                 (2)           an unincorporated entity(describe):
                 (3)           a public entity (describe):
                 (4)           a minor            an adult
                             (a)          for whom a guardian or conservator of the estate or a guardian ad litem has been appointed.
                             (b)          other(specify):

                (5)       other(specify):
     b.          except plaintiff(name):
                (1)E-1 a corporation qualified to do business in California.
                (2)       an unincorporated entity(describe):
                (3)1         I a public entity (describe):
                 (4)           a mindr            an adult -
                             (a)          for whom a guardian or conservator of the estate or a guardian ad litem has been appointed.
                             (b) I       I other(specify):
                (5)       other(specify):
          Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                               Page 1 of 3
Form Approved for Optional Use                                                                                             Code of Civil Procedure,§ 425.12
Judicial Council of California
                                                      COMPLAINT—Personal Injury, Property
                                                                                                                                          www.courts.ca.gov
PLD-PI-001 [Rev. January 1,20241                           Damage, Wrongful Death
     Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 4 of 55 Page ID #:13


                                                                                                                                PLD-PI-001
 SHORT TITLE:                                                                                   CASE NUMBER:

 JUDY WELTSCH v CVS PHARMACY, Inc., et al

4.             Plaintiff (name):
               is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural_person
  a. x except defendant(name):-CVS Pharmacy, Inc.                        c.         except defendant(name):
            (1)           a business organization,.form unknown.              (1)        a business organization, form unknown.
            (2)           a corporation.                                      (2)        a corporation.
            (3)           an unincorporated entity (describe):                (3)        an unincorporated entity (describe):

            (4)           a public entity (describe):                         (4)      1 a public entity (describe):


            (5)           other(specify):                                     (5)        other(specify):




     b.    x    except defendant(name): Garfield Beach CVS, LLC          d.         except defendant(name):
            (1)           a business organization, form unknown.                         a business organization, form unknown.
            (2)           a corporation.                                                 a corporation.
            (3)           an unincorporated entity (describe):                           an unincorporated entity (describe):

            (4)           a public entity (describe):                                    a public entity (describe):


            (5)           other(specify):                                     (5)        other(specify):
                          Limited Liability Company
               Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
      a.          Doe defendants (specify Doe numbers): 1_20                             were the agents or employees of other
                  named defendants and acted within the scope of that agency or employment.
      b.          Doe defendants(specify Doe numbers): 1_20                                  are persons whose capacities are unknown to
                  plaintiff.
7.          Defendants who are joined under Code of Civil Procedure section 382 are (names):




8. This court is the proper court because
   a.       at least one defendant now resides in its jurisdictional area.
   b.   x I the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
   c.   x injury to person or damage to personal property occurred in its jurisdictipnal area.
     d.           other(specify):




            _Plaintiff is require-010 comply with a_claimSstatute, and • .                                             -
      a.          has complied with applicable claims statutes, or
                  . -
      b.          is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2024)                   COMPLAINT—Personal Injury, Property                                               Page 2 of 3

                                                         Damage, Wrongful Death
              Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 5 of 55 Page ID #:14
;171


                                                                                                                                                 PLD-PI-001
           SHORT TITLE:                                                                                       CASE NUMBER:

           J UDY WELTSCH v CVS PHARMACY, Inc., et al
           10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
               causes of action attached):
                  a.            Motor Vehicle
                  b.     X      General Negligence
                  C.            Intentional Tort
                  d.            Products Liability -
                  e.     X      Premises Liability
                  f.            Other (specify):




           1 1.plaintiff has suffered (check all that apply)
               a.     x wage loss.
                  b.     X   loss of use of property.
                  C.     X      hospital and medical expenses.
                  d.     X   general damage.
                  e.            property damage.
                  f.     X      loss of earning capacity.
                  9.         other damage (specify):
                                ACCORDING TO PROOF



           1 2.          The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
                  a.        listed in Attachment 12.
                  b. I       as follows:




           1 3. The relief sought in this complaint is within the jurisdiction of this court.




           14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
               a. (1) x compensatory damages.
                       (2)      punitive damages.
                  b.    The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
                       (1) x according to proof.
                       (2)          in the amount of: $
           15. x The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):
                         1-15
       ^                                           -;

       Date: February 23, 2024

           Mark Ruszeck, Esq.                                                                                      711eza yezyge             .
                                        (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PLAINTIFF   ATTORNEY)



       PLD-PI-001 [Rev. January 1,2024)                        COMPLAINT—Personal Injury, Property                                                  Page 3 of 3
                                                                    Damage, Wrongful Death

           rivacy olq.arpe pre4Itie;CiaaiIifis:Fortiljyttan after ye                            Save this form                             ear        orm,
   Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 6 of 55 Page ID #:15
   10 keep other people from seeing what you entered on your form, please press the Clear This Form button at the 1
                                          end of the form when finished.
                                                                                                     PLD-PI-001(2)
                                                                                                  CASE NUMBER:
   SHORT TITLE:
   JUDY WELTSCH v CVS PHARMACY,Inc., et al


           FIRST                                 CAUSE OF ACTION—General Negligence                                       Page             4
                         (number)

          ATTACHMENT TO                     Complaint I           Cross - Complaint

         (Use a separate cause of action form for each cause of action.)

          GN-1. Plaintiff (name):      JUDY WELTSCH,an individual

                     alleges that defendant (name): CVS PHARMACY,Inc., a corporation; and GARFIELD BEACH CVS, LLC;
                                                         and


                                     Does    1                    to   20

                     was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                     negligently caused the damage to plaintiff
                     on (date): February 24, 2022
                     at (plade): 20839 Roscoe Blvd. Winnetka, CA. 91306

                    (description of reasons for liability):

                     On February 24, 2022, Plaintiff Judy Weltsch was a passenger in her brother's vehicle. They
                     parked in defendants parking lot and Plaintiffs brother parked in the parking spot closest to the
                     curb line unbeknownst to Plaintiff on the other side of the curb was a sunken area. As Plaintiff
                     exited the vehicle she suddenly fell into the sunken area on the other side of the curb.

                     Defendant CVS PHARMACY,Inc. and GARFIELD BEACH CVS,LLC owed a duty of care to
                     Plaintiff to warn of any and all dangerous conditions existing in or around their store, including
                     the parking lot where her injuries and damages were sustained.

                     Defendant CVS PHARMACY,Inc. and GARFIELD BEACH CVS,LLC breached that duty.

                     Defendant CVS PHARMACY,Inc. and GARFIELD BEACH CVS,LLC negligence was a
                     substantial factor in causing Plaintiffs harm, injuries, and damages.

                     At this time Plaintiff does not have information regarding Defendants ownership of the property.
                     Thus if Defendants are not the land owners at such time that Plaintiff becomes aware of the land
                     owner and their identity, Plaintiff will amend this complaint to add in land owners as DOE 1. If
                     defendants are not the land-owners and indeed there is an entity that becomes DOE 1 in this
                     complaint Plaintiff alleges the same duties, breaches and damages against the land owner that
                     may be named as DOE 1 against Defendants-CVS PHARMACY,Inc. and GARFIELD BEACH
                     CVS,LL.




                                                                                                                                           Page 1 of 1
  Form Approved for Optional Use                                                                                        Code of Civil Procedure 425.12
    Judicial Council of California               CAUSE OF ACTION—General Negligence                                               www.courtinfo.ca.gov
PLO-PI-001(2)[Rev. January 1,2007]


   For your protection and privacy, please press the Clear This Form
                button after you have printed the form.                       Save This Form       Print This Form       i'Clear This Form
   Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 7 of 55 Page ID #:16
     To keep other people from seeing what you entered on your form, please press the Clear This Form
                                button at the end of the form when finished.
                                                                                                                                         PLD-PI-001(4)
• SHORT TITLE:                                                                                         CASE NUMBER:


  JUDY WELTSCH v CVS PHARMACY,Inc., et al


         SECOND                                    CAUSE OF ACTION—Premises Liability                                          Page              5
                       (number)
         ATTACHMENT TO               Complaint            Cross - Complaint
        (Use a separate cause of action form for each cause of action.)

         Prem.L-1. Plaintiff(name): JUDY WELTSCH, an individual
                     alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                     On (date): February 24, 2022                       plaintiff was injured on the following premises in the following
                          fashion (description of premises and circumstances of injury):
                          On February 24, 2022, Plaintiff Judy Weltsch was a passenger in her brother's vehicle. They
                          parked in defendants parking lot and as Plaintiff exited the vehicle she suddenly fell into the
                          sunken area on the other side of the curb.
                          Plaintiff incorporates by this reference all allegations contained within the cause of action for
                          General Negligence.


         Prem.L-2.                    Count One—Negligence The defendants who negligently owned, maintained, managed and
                                      operated the described premises were (names):
                                      CVS PHARMACY,Inc., a corporation; and GARFIELD BEACH CVS,LLC; and

                                     'I Does 1                          to   20
         Prem.L-3.                    Count Two—Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                                      or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                                     (names):
                                      CVS PHARMACY,Inc., a corporation; and GARFIELD BEACH CVS,LLC; and

                                            Does I                      to   20
                                      Plaintiff, a recreational user, was          an invited guest       a paying guest.
         Prem.L-4.                    Count Three—Dangerous Condition of Public Property The defendants who owned public property
                                      on which a dangerous condition existed were (names):



                                                    Does                      to
                                      a.       The defendant public entity had.= actual                  constructive notice of the existence of the
                                               dangerous condition in sufficient time prior to the injury to have corrected it.
                                      b.       The condition was created by employees of the defendant public entity.
         Prem.L-5. a.                 Allegations about Other Defendants The defendants who were the agents and employees of the
                                      other defendants and acted within the scope of the agency were (names):



                                            Does                        to
                        b. I=1 The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                    described in attachment Prem.L-5.b              as follows (names):
                                      CVS PHARMACY,Inc., a corporation; and GARFIELD BEACH CVS,LLC; and

                                                                                                                                                   Page 1 of 1
  Form Approved for Optional Use                                                                                              Code of Civil Procedure, § 425.12
    Judicial Council of California                 CAUSE OF ACTION—Premises Liability                                                      www.courtinfo.ca.gov
PLD-PI-001(4)(Rev. January 1,2007]


    For your protection and privacy, please press the Clear This Form                                                               _
                 button after you have printed the form.                           Save This Form         Print This Form         • Clear This Formi
          Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 8 of 55 Page ID #:17
1.1

                                                                                                                                                                   CM-010
       ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                 FOR COURT USE ONLY
       Mark Ruszecki, Esq.(SBN 242435)
       JAVAHERIAN & RUSZECKI, P.C.- 10200 Culver Blvd, Culver City, Ca. 90230
       TELEPHONE NO.:(310)858-1818                            FAX NO.:(310) 858-1815                                 Electronically FILED by
                                                                                                                     Superior Court of California,
       EMAIL ADDRESS: Litigation@jarulaw.com
                                                                                                                     County of Los Angeles
       ATTORNEY FOR (Name):Plaintiff: Judy Weltsch
                                                                                                                     2/23/2024 4:07 PM
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                            David W. Slayton,
       STREET ADDRESS:9425 Penfield Ave.
                                                                                                                     Executive Officer/Clerk of Court,
                                                                                                                     By M. Vargas, Deputy Clerk
       MAILING ADDRESS:9425 Penfield Ave.                                               .
      CITY AND ZIP CODE:ChatSWOrth, CA. 91311
          BRANCH NAmeNORTH VALLEY

       CASE NAME:
       JUDY WELTSCH v CVS PHARMACY, Inc., et al
           CIVIL CASE COVER SHEET                                                                         CASE NUMBER:
                                                               Complex Case Designation
         x  Unlimited                   Limited                     Counter                   Joinder        241C H CV 00570
           (Amount                      (Amount
                                                           Filed with first appearance by defendant JUDGE:
            demanded                    demanded is
                                                               (Cal. Rules of Court, rule 3.402)           DEPT.:
            exceeds $35,000)            $35,000 or less)
                                          Items 1-6 below must be completed (see instructions on page 2).
       1. Check one box below for the case type that best describes this case:
         Auto Tort                                         Contract                                    Provisionally Complex Civil Litigation
               Auto (22)                                          Breach of contract/warranty(06)     (Cal. Rules of Court, rules 3.400-3.403)
               Uninsured motorist (46)                            Rule 3.740 collections(09)                  Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property                Other collections (09)                       Construction defect(10)
         Damage/Wrongful Death) Tort                                                                          Mass tort(40)
                                                                  Insurance coverage (18)
               Asbestos (04)                                     Other contract(37)                           Securities litigation (28)
               Product liability (24)                                                                         Environmental/Toxic tort (30)
                                                           Real Property
               Medical malpractice (45)                                                                       Insurance coverage claims arising from the
                                                                 Eminent domain/Inverse
               Other PI/PD/WD (23)                                                                            above  listed provisionally complex case
           X                                                     condemnation (14)
                                                                                                              types(41)
         Non-PI/PD/WD (Other) Tort                               Wrongful eviction (33)                Enforcement of Judgment
               Business tort/unfair business practice (07)       Other real property (26)                     Enforcement of judgment(20)
               Civil rights (08)                           Unlawful Detainer
                                                                                                       Miscellaneous Civil Complaint
               Defamation (13)                                   Commercial(31)
                                                                                                              RICO (27)
               Fraud (16)                                        Residential (32)
                                                                                                              Other complaint (not specified above)(42)
               Intellectual property (19)                        Drugs (38)
                                                                                                       Miscellaneous Civil Petition
               Professional negligence (25)                Judicial Review
                                                                 Asset forfeiture (05)                        Partnership and corporate governance (21)
               Other non-PI/PD/WD tort(35)
         Employment                                              Petition re: arbitration award (11)          Other petition (not specified above)(43)
                   Wrongful termination (36)                            Writ of mandate (02)
                   Other employment(15)                                 Other judicial review (39)
      2. This case          is       X   is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
          factors requiring exceptional judicial management:
                                                                        d.        Large number of witnesses
         a.        Large number of separately represented parties
                                                                        B.       Coordination   with related actions pending in one or more
         b.        Extensive motion practice raising difficult or novel
                   issues that will be time-consuming to resolve                 courts  in other counties, states, or countries, or in a federal
                                                                                 court _
                   Substantial amount of documentary evidence
                                                                                 Substantial postjudgment judicial supervision
      3. Remedies sought (check all that apply): a. X monetary b.              nonmonetary; declaratory or injunctive relief c.           punitive
      4. Number of causes of action (specify): Two (2): 1. General Negligence, 2. Premises Liability
      5. This case          is       x is not     a class action suit.
      6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
      Date: February 23, 2024
      Mark Ruszecki, Esq.                                                                        711.4.4,‘
                                  (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR         7oRNEY FOR PARTY)
                                                                                 NOTICE
      • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
      • File this cover sheet in addition to any cover sheet required by local court rule.
      . If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheeton all other parties to
        the action or proceeding.
      • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.             Page 1 of 2
      Form Adopted for Mandatory Use                                                                                 Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740,
      Judicial Council of California                              CIVIL CASE COVER SHEET                                     Cal. Standards of Judicial Administration, std. 3.10
      CM-010[Rev. January 1,2024)                                                                                                                             www.courts.ca.gov
          Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 9 of 55 Page ID #:18
1.)


                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
      To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
      complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
      statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
      one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
      check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
      To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
      sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
      its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
      To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
      in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
      property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
      damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
      attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
      time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
      case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
      To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
      case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
      completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
      complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
      plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
      the case is complex.                                     CASE TYPES AND EXAMPLES
        Auto Tort                                    Contract
                                                     Con                                                 Provisionally Complex Civil Litigation (Cal.
             Auto (22)—Personal Injury/Property          Breach of C       t tM/arranty (06)
                                                                      Contract/Warranty                  Rules of Court Rules 3.400-3.403)
                   Damage/Wrongful Death                      Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
               Uninsured Motorist(46)(if the                       Contract (not unlawful detainer             Construction Defect(10)
              case involves an uninsured                                 or wrongful eviction)
                                                                                           i ti                Claims Involving Mass Tort(40)
              motorist claim subject to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
              arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort(30)
              instead of Auto)                                Negligent Breach of Contract/                    Insurance Coverage Claims
        Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
        Property Damage/Wrongful Death) Tort                  Other B Breachh of Contract/Warranty                    case type listed above)(41)
            Asbestos(04)                                 Collections (e.g., money owed, open             Enforcement of Judgment
               Asbestos Property Damage                       book accounts)   t (09)                       Enforcement of Judgment(20)
               Asbestos Personal Injury/                      Collection Case—Seller Plaintiff                   Abstract of Judgment(Out of County)
                     Wrongful Death                           Other Promissory Note/Collections Case        Confession of Judgment (non-domestic
            Product Liability (not asbestos or           I nsurance Coverage (not provisionally                   relations)
                toxic/environmental)(24)                      complex)(18)                                  Sister State Judgment
            Medical Malpractice (45)                          Auto
                                                              Au S  Subrogation
                                                                        b       ti                          Administrative Agency Award
                 Medical Malpractice—                         Other Coverage                                    (not unpaid taxes)
                      Physicians & Surgeons              Other Contract
                                                                      t t(37)                                Petition/Certification of Entry of
            Other Professional Health Care                    Contracua t lF  Fraud  d                            Judgment on Unpaid Taxes
                   Malpractice                                Other Contract Dispute                         Other Enforcement of Judgment Case
            Other Pl/PD/WD (23)                      Real Property                                       Miscellaneous Civil Complaint
                 Premises Liability (e.g., slip          Em
                                                         Eminentt D Domain/Inverse
                                                                            i /I                             RICO (27)
                      and fall)                               Condemnation (14)                              Other Complaint (not specified above)(42)
                 Intentional Bodily Injury/PD/VVD        Wrongfu l Eviction(33)                                    Declaratory Relief Only
                      (e.g., assault, vandalism)         Other Real Property (e.g., quiet title)(26)               Injunctive Relief Only (non-
                 Intentional Infliction of                    Writ of Possession of Real Property                       harassment)
                      Emotional Distress                      Mortgage Foreclosure                                 Mechanics Lien
                 Negligent Infliction of                      Quiet Title                                          Other Commercial Complaint
                       Emotional Distress                     Other Real Property (not eminent                         Case (non-tort/non-complex)
                 Other PI/PD/WD                               domain, landlord/tenant, or                          Other Civil Complaint
        Non-PI/PD/WD (Other) Tort                            foreclosure)                                              (non-tort/non-complex)
            Business Tort/Unfair Business           -Unlawful Detainer                                   Miscellaneous Civil Petition
               Practice (07)                             Commercial (31)                                     Partnership and Corporate
            Civil Rights (e.g., discrimination,          Residena  ti l(32)                                      Governance (21)
                 false arrest)(not civil                 Drugs(38)(if the case involves illegal              Other Petition (not specified above)(43)
                  harassment)(08)                       drugs, check this item; otherwise,                      Civil Harassment
            Defamation (e.g., slander, libel)(13)       report as C  Commercial    i l or R
                                                                                          Residential)
                                                                                              id ti l           Workplace Violence
            Fraud (16)                               Judicial Review                                            Elder/Dependent Adult Abuse
            Intellectual Property (19)                  Asset Forfeiture,(05L.     .                        -   Election Contest     --
            Professional Negligence (25)                Petition Re:Arbitration Award (11)                      Petition for Name Change
                Legal Malpractice                        Writ of Mandate (02)                                   Petition for Relief From Late Claim
                Other Professional Malpractice               Writ—Administrative M
                                                                                 Mandamus
                                                                                    d                           Other Civil Petition
                  (not medical or legal)                     Writ—Mandamus on Limited Court
            Other Non-Pl/PDNVD Tort (35)                       Case Matter
       Employment                                           Writ-Other Limited Court Case Review
          Wrongful Termination (36)                     Other Judicial Review (39)
          Other Employment(15)                             Review of Health Officer Order
                                                           Notice of Appeal—Labor Commissioner
                                                                  A   ealq
      CM-010 [Rev. January 1,2024]                                                                                                              Page 2 of 2
                                                               CIVIL CASE COVER SHEET

      3rivacy, please press the Clear This Form button after yc       Print this form        Save this form                        relear,thiS"foripl
  Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 10 of 55 Page ID #:19

      SHORT TITLE                                                                                                       :CASE NUMBER
       J UDY WELTSCH v CVS PHARMACY, Inc., et al


                     CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)


            This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type
     in Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
     chosen.



                                      Applicable Reasons for Choosing Courthouse Location (Column C)


       1.    Class Actions must be filed in the Stanley Mosk Courthouse, Central District.   7.   Location where petitioner lives.

      2.     Permissive filing in Central District.                                          8.   Location wherein defendant/respondent functions wholly.

      3.     Location where cause of action arose.                                           9.   Location where one or more of the parties reside.

      11.    Mandatory personal injury filing in North District.                             10. Location of Labor Commissioner Office.

      5.     Location where performance required,.or defendant resides.                      11. Mandatory filing location (Hub Cases — unlawful detainer, limited
                                                                                                 non-collection, limited collection, or personal injury).
      6.      Location of property or permanently garaged vehicle.




                                                                                                      :
                                                                                       .....
                    Civil Case Cover Sheet                                         .. Type.ofACtion.:
                           Case Type                                               feheek:Only,..ohe                                   "!.(See Ste:p3E;above


                                      Personal Injury Cases Assigned to the Personal Injury Hub Courts
                              Auto (22)                0 2201 Motor Vehicle — Personal Injury/Property                                           1, 4, 11
                                                       Damage/Wrongful Death

                     Uninsured Motorist (46)           o 4601 Uninsured Motorist — Personal Injury/Property                                      1,4,11
                                                       Damage/Wrongful Death

                      Other Personal Injury/           2-2301-Premise Liability (e.g., dangerous conditions of                                   1, 4, 11
                       Property Damage/                property, slip/trip and fall, dog attack, etc.)
                       Wrongful Death (23)
                                                      0 2302 Intentional Bodily Injury/Property Damage/Wrongful                                 1,4,11
                                                      Death (e.g., assault, battery, vandalism, etc.)

                                                      0 2303 Intentional Infliction of Emotional Distress                                       J., 4,11

                                                      0 2304 Other Personal Injury/Property Damage/Wrongful                                     1,4, 11
                                                      Death

                                                      0 2307 Construction Accidents                                                             1, 4, 11


LASC CIV 109 Rev. 05/22                               CIVIL CASE COVER SHEET ADDENDUM                                                     LASC Local Rule 2.3
For Mandatory Use
                                                         AND STATEMENT OF LOCATION
  Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 11 of 55 Page ID #:20

          SHORT TITLE                                                                                                            CASE NUMBER
          J UDY WELTSCH v CVS PHARMACY, Inc., et al


                                                            A                                               B                                             C
                                                 Civil Case Cover Sheet                              Type of Action                             A pplicable Reasons
                                                       Case Type                                    (check only one)                            (See Step 3 above)



      _                                                    Personal Injury
                                                                     _     Cases Assigned to the Independent Calendar
                                                                                                                  ... Courts
                                                   Product Liability (24)     0 2401 Product Liability (not asbestos or toxic/                           1, 3, 5
                                                                              environmental)
           Other Personal Injury/Property
            Damage/Wrongful Death Tort




                                                                              0 2402 Product Liability - Song-Beverly Consumer Warranty                  1, 3, 5
                                                                              Act(CA Civil Code §§1790-1795.8)(Lemon Law)

                                                 Medical Malpractice (45)     0 4501 Medical Malpractice - Physicians & Surgeons                         1, 3, 5

                                                                              0 4502 Other Professional Health Case Malpractice                          1, 3, 5

                                                 Other Personal Injury /      0 2305 Elder/Dependent Adult Abuse/Claims Against Skilled                  1, 3, 5
                                                  Property Damage /           N ursing Facility
                                                  Wrongful Death (23)
                                                                              0 2306 Intentional Conduct- Sexual Abuse Case (in any                      1, 3, 5
                                                                              form)

                                                                              0 2308 Landlord - Tenant Habitability (e.g., bed bugs, mold,               1, 3, 5
                                                                              etc.)

                                                                Other Civil Cases Assigned to Independent Calendar Courts
          Non-Personal Injury/Property Damage




                                                    Business Tort (07)        0 0701 Other Commercial/Business Tort(not fraud or                         1, 2, 3
                                                                              breach of contract)
                 /Wrongful Death Tort




                                                     Civil Rights (08)        00801 Civil Rights/Discrimination                                          1, 2, 3

                                                     Defamation (13)          0 1301 Defamation (slander/libel)                                          1, 2, 3

                                                        Fraud (16)            0 1601 Fraud (no contract)                                                 1, 2, 3

                                                 Professional Negligence      0 2501 Legal Malpractice                                                   1, 2, 3
                                                          (25)
                                                                              0 2502 Other Professional Malpractice (not medical or legal)               1, 2, 3

                                                        Other (35)            0 3501 Other Non-Personal Injury/Property Damage Tort                      1, 2, 3
          Employment




                                                Wrongful Termination (36)     0 3601 Wrongful Termination                                                1, 2, 3

                                                 Other Employment(15)         0 1501 Other Employment Complaint Case                    -                1, 2, 3
                                                                                                                                            _        _
                                    '




                                                                              0 1502 Labor Commissioner Appeals                                           10

                                                   Breach of Contract /       0 0601 Breach of Rental/Lease Contract (not unlawful                        2, 5
                                                      Warranty (06)           detainer or wrongful eviction)
          Contr#t




                                                     (hot insurance) -:                                                       --,..•-       -                      -
                                                                              00602 Contract/Warranty Breach - Seller Plaintiff(no                        2,5
                                                                              fraud/negligence)

                                                                              0 0603 Negligent Breach of Contract/Warranty (no fraud)                 1, 2, 5



LASC CIV 109 Rev. 05/22                                                     CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use
                                                                               AND STATEMENT OF LOCATION
       Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 12 of 55 Page ID #:21
S.

            SHORT TITLE                                                                                                  CASE NUMBER
            JUDY WELTSCH v CVS PHARMACY, Inc., et al


                                            A                                                 B                                                  C
            .                    Civil Case Cover Sheet                                Type of Action                                  A pplicable Reasons
                                        Case Type                                     (check only one)                                (See Step 3 above)

                                   Breach of Contract/           0 0604 Other Breach of Contract/Warranty (no fraud/                                1, 2, 5
                                     Warranty (06) _             negligence)
                                                                             _
                                    (not insurance)              0 0605 Breach of Rental/Lease Contract (COVib-19 Rental                              2, 5
                                                                 Debt)
                                     Collections (09)            00901 Collections Case -Seller Plaintiff                                          5,6, 11

                                                                 00902 Other Promissory Note/Collections Case                                        5, 11
               Contract




                                                                 0 0903 Collections Case - Purchased Debt (charged off                              5, 6, 11
                                                                 consumer debt purchased on or after January 1, 2014)
                                                                 0 0904 Collections Case - COVID-19 Rental Debt                                      5, 11

                                 I nsurance Coverage (18)        0 1801 Insurance Coverage (not complex)                                           1, 2, 5,8

                                   Other Contract (37)           0 3701 Contractual Fraud                                                          1, 2, 3, 5

                                                                 0 3702 Tortious Interference                                                      1, 2, 3, 5

                                                                 0 3703 Other Contract Dispute (not breach/insurance/fraud/                       1, 2, 3, 8, 9
                                                                 negligence)
                                 Eminent Domain/ Inverse         0 1401 Eminent Domain/Condemnation                                                   2, 6
                                    Condemnation (14)
                                                                                                 Number of Parcels
             Real Property




                                  Wrongful Eviction (33)         0 3301 Wrongful Eviction Case                                                        2, 6

                                 Other Real Property (26)        0 2601 Mortgage Foreclosure                                                          2, 6

                                                                 0 2602 Quiet Title                                                                   2,6

                                                                 0 2603 Other Real Property (not eminent domain,                                      2, 6
                                                                 landlord/tenant, foreclosure)
                                   Unlawful Detainer -           0 3101 Unlawful Detainer - Commercial (not drugs or                                 6, 11
                                    Commercial (31)              wrongful eviction)
             Unlawful Detainer




                                   Unlawful Detainer -           0 3201 Unlawful Detainer - Residential (not drugs or                                6, 11
                                     Residential (32)            wrongful eviction)

                                 Unlawful Detainer - Post        0 3401 Unlawful Detainer - Post Foreclosure                                       2, 6, 11
                                     Foreclosure (34)

                                   Unlawful Detainer -           0 3801 Unlawful-Detainer - Drugs                    -            -           -    2, 6, 11
                                                                                             _                                _
                                       Drugs (38)

                                   Asset Forfeiture (05)         0 0501 Asset Forfeiture Case                                                       2, 3, 6

                                  Petition re Arbitration        0 1101 Petition to Compel/Confirm/Vacate Arbitration                                2,5
            Judic,f,a1
            Review




                                                            -    - _-z- „- -._ _ ._                                   __-             ....

                                  Writ of Mandate (02)           0 0201 Writ- Administrative Mandamus                                                2, 8         _

                                                                 0 0202 Writ - Mandamus on Limited Court Case Matter                                   2

                                                                 0 0203 Writ - Other Limited Court Case Review                                         2

     LASC CIV 109 Rev. 05/22                                    CIVIL CASE COVER SHEET ADDENDUM                                              LASC Local Rule 2.3
     For Mandatory Use
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       SHORT TITLE                                                                                                                CASE NUMBER
       J UDY WELTSCH v CVS PHARMACY, Inc., et al


                                                           A                                                B                                            C
                                                Civil Case Cover Sheet                                Type of Action                            Applicable Reasons
                                                       Case Type                                     (check only one)                           (See Step 3 above)

                                                Other Judicial Review (39) 0 3901 Other Writ/Judicial Review                                              2,8
          Judicial
          Review




                                                 -                             I=1 3902 Administrative Hearing                                  _         2,8

                                                                               CI 3903 Parking.Appeal                                                     2, 8

                                                       Antitrust/Trade        0 0301 Antitrust/Trade Regulation                                          1, 2,8
                                                       Regulation (03)
                                                        Asbestos (04)         ID 0401 Asbestos Property Damage                                            1, 11
         Provisionally Complex Litigation




                                                                              El 0402 Asbestos Personal Injury/Wrongful Death                             1, 11

                                                Construction Defect (10)      0 1001 Construction Defect                                                 1, 2, 3

                                                 Claims Involving Mass         CI 4001 Claims Involving Mass Tort                                        1, 2,8
                                                       Tort(40)

                                                Securities Litigation (28)     CI 2801 Securities Litigation Case                                        1, 2, 8

                                                            Toxic Tort        0 3001 Toxic Tort/Environmental                                           1, 2, 3,8
                                                       Environmental (30)
                                                      I nsurance Coverage     0 4101 Insurance Coverage/Subrogation (complex case only)                 1, 2, 5, 8
                                                     Claims from Complex
                                            -               Case (41)
                                                Enforcement of Judgment                                                                                 2, 5, 11
        Enforcement of Judgment




                                                                              0 2001 Sister State Judgment
                                                         (20)
                                                                              0 2002 Abstract of Judgment                                                 2, 6

                                                                              02003 Confession of Judgment(non-domestic relations)                        2,9

                                                                              0 2004 Administrative Agency Award (not unpaid taxes)                       2,8

                                                                              CI 2005 Petition/Certificate for Entry of Judgment Unpaid Tax               2,8

                                                                              CI 2006 Other Enforcement of Judgment Case                                 2, 8, 9

                                                             RICO (27)        0 2701 Racketeering (RICO) Case                                            1, 2,8
        Miscellaneous Civil




                                                Other Complaints              El 4201 Declaratory Relief Only                                            1, 2,8
           Complaints




                                            (not specified above)(42)
                                                                              04202 Injunctive Relief Only (not domestic/harassment)                      2, 8
                                            .-           _
                                                             _                0 4203 Othel. Commercial Complaint Case (non-tort/non-                     1, 2,8
                                                                              complex)
                                                                             .0 4304 Other Civil Complaint (non-tort/non-complex)                        1, 2,8

                                                Partnership Corporation       .0 2101.Partnership_and Cgrporatiori Governance_Case:::-         . _ _ 2,8 - -
       Miscellaneous
       Civil Petitions




                                                                                 _    •       _ _                                             .  . _
                                                    Governance (21)

                                                  Other Petitions             El 4301 Civil Harassment with Damages                                      2, 3,9
                                            (not specified above)(43)
                                                                              04302 Workplace Harassment with Damages                                    2, 3,9


LASC CIV 109 Rev. 05/22                                                      CIVIL CASE COVER SHEET ADDENDUM                                        LASC Local Rule 2.3
For Mandatory Use
                                                                                AND STATEMENT OF LOCATION
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       SHORT TITLE                                                                                                 CASE NUMBER
       J UDY WELTSCH v CVS PHARMACY, Inc., et al


                                            A                                             B                                               C
                                 Civil Case Cover Sheet                            Type of Action                                Applicable Reasons
                                        Case Type                                 (check only one)                               (See Step 3 above)
                                      Other Petitions
                                                             0 4303 Elder/Dependent Adult Abuse Case with Damages                      2, 3,9
        Miscellaneous Civil




                                (not specified above)(43)
                                                             0 4304 Election Contest                                                     2
             Petitions




                                                             0 4305 Petition for Change of Name/Change of Gender                        2,7

                                                             0 4306 Petition for Relief from Late Claim Law                            2, 3, 8

                                                             0 4307 Other Civil Petition                                                2,9


     Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under
     Column C for the type of action that you have selected. Enter the address, which is the basis for the filing
     location including zip code. (No address required for class action cases).
       REASON:                                                                         ADDRESS:

      0 1.0 2.0 3.0 4.05.0 6.0 7.08.0 9.0 10.0 11.                                                            20839 Roscoe Blvd.

       CITY:                                        STATE:            ZIP CODE:

       Winnetka                                      CA.              91306

     Step 5: Certification of Assignment: I certify that this case is properly filed in the North Valley
     District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC
     Local Rule 2.3(a)(1)(E)]


     Dated: 02/23/2024                                                                      wit.a
                                                                                       (SIGNATURE OF ATTOR&Y/FILING PARTY)


     PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:
              1. Original Complaint or Petition.
              2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
              3. Civil Case Cover Sheet Judicial Council form CM-010.
             4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (05/22).
              5. Paymeni in full of the filing fee, unless there is a court order forWaiver, partial or schedule payments.
             6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or -
                petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
                                        -coples of doctirri nts-fo b onfon:iled 6y-the Clerk. Copie-s-of the cove-r. heetand this..-
                              addendum must be served along with the Summons and Complaint-or other initiating pleading in
                              the case.



LASC CIV 109 Rev. 05/22                                   CIVIL CASE COVER SHEET ADDENDUM                                         LASC Local Rule 2.3
For Mandatory Use
                                                             AND STATEMENT OF LOCATION
  Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 15 of 55 Page ID #:24

                                                                                                  Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                             FILED
 Chatsworth Courthouse                                                                           8tipatior Cloud of CAEI(Vnia
                                                                                                    County()I Los Angeles
 9425 Penfield Avenue, Chatsworth, CA 91311
                                                                                                        02/2312024
                      NOTICE OF CASE ASSIGNMENT                                          fti rid W.Sbytto.,F.X6M6ye.OlieE / Cris's. of COuri

                                                                                           By               M. \fogad...        cx,p ly.
                         UNLIMITED CIVIL CASE                     --

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 240H0V00570


                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                   ASSIGNED JUDGE                      DEPT          ROOM
   1
   .     Melvin D. Sandvig                  F47




    Given to the Plaintiff/Cross-Complainant/Attorney of Record    David W. Slayton, Executive Officer / Clerk of Court
    on 02/23/2024                                                         By M. Vargas                                         , Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 16 of 55 Page ID #:25

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the.others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
A ll complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse._ If the case is found not to be a class action it will be returned to an Independent_
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a.complex_ judgp at_the designated c_omplex coathouse. If the case is found not to log. comp:I.ex, it will -b •
                                                                                      _
returned to an Independent Calendar Courtroom for-all purposes. —
                                                             -•




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:24-cv-02466-FMO-SSC Document 2-1 Filed 03/27/24 Page 17 of 55 Page ID #:26



                          Superior Court of California, County of Los Angeles


                             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 - INFORMATION PACKAGE

  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-cornplaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial..
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out—a solution but need help from a neutral person-.
                  • have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to_decide the outcome.
                                                                                               --
                  • lac1 equal bargaining power or have a hittory of phygical/embtional abuse-.




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                               How to Arrange Mediation in Los Angeles County

    Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

        a. The Civil Mediation Vendor Resource List
           If all parties in an active civil case agree to mediation, they may contact these organizations to
           request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
           cases).

             •  ADR Services, Inc. Assistant Case Manager Janet Solis,janet@adrservices.com
               (213)683-1600
             • Mediation Center of Los Angeles Program Manager info@mediationLA.org
               (833)476-9145

             These organizations cannot accept every case and they may decline cases at their discretion.
             They may offer online mediation by video conference for cases they accept. Before contacting
             these organizations, review important information and FAQs at www.lacourt.org/ADR.Reslist

             NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
             or small claims cases.

        b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
           mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
           harassment, and limited civil (collections and non-collection) cases.
           https://dcba.lacounty.gov/countywidedrP/

             Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
             should carefully review the Notice and other information they may receive about(ODR)
             requirements for their case. https://my.lacourt.org/odr/

        c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
       decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
       after the arbitrator's decision. For more information about arbitration, visit
       https://www.courts.ca.gov/programs-adr.htm

   4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
      settlement officer who does not make a decision but who instead assists the parties in evaluating
      the strengths and weaknesses of the case and in negotiating a settlement. For information about
      the Court's MSC programs for civil cases, visit https://www.lacourtorg/division/civil/C10047.aspx
                       _
    Los Angeles Superior Court ADFT-welisite:• https:/lwaw1acour:t.Orkfilivision7Ei 1l/d0109.aspx
    For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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        5
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
        6
                                            FOR THE COUNTY OF LOS ANGELES
        7

        8    IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
             — MANDATORY ELECTRONIC FILING )
        9    FOR CIVIL
       10

        11

        12           On December 3,2018, the Los Angeles County Superior Court mandated electronic filing of all
       13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
        14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
       15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
        16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
       17    following:
        18   1) DEFINITIONS
      - 19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
       20            quickly locate and navigate to a designated point of interest within a document.
       21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
       22            portal, that gives litigants access to the approved Electronic Filing Service Providers.
       23-      c) "Electronic Envelope" A transaction through the electronic service provider for Submission
       24            ofdocuments to the Court for processing which may contain one or more PDF documents
       25            attached.

                d)                                           (eFilidg) is the electrode ti ansnision to.a
       27            document-in electronic form. (California Rules of Court, rule 2.250(b)(7).)
       28


                                 FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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  1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
  2          person or entity that receives an electronic filing from a party for retransmission to the Court.

  3         _ In the submission of filings, the EFSP does so on behalf of the electronic filer-and not as an

  4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

  5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
  6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
  7         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

  8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

  9          process attached to or logically associated with an electronic record and executed or adopted
 10          by a person with the intent to sign the electronic record.
 11      g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

 12          in a hypertext or hypermedia document to another in the same or different document.
 13      h) "Portable Document Format" A digital document format that preserves all fonts,
 14.         formatting, colors and graphics of the original source document, regardless of the application
 15          platform used.

  16   2) MANDATORY ELECTRONIC FILING
  17     a) Trial Court Records
  18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
 19          and preserved in electronic format. Any document that the Court receives electronically must
 20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
 21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
 22      b) Represented Litigants
 23       — Pursuant to California Rules of Court; rule 2253(b), represented litigants are-required to
 24          electronically file documents with the Court through an approved EFSP.
 25      -c) Public Notice
 26              Cou-rt has issued a Palle Netiet _witk-effecti-ve datekhb                    arLieto
 27         electronically file documents through one or more approvEd EFSPs. Public Notices containing
 28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.oro.

                                                              2
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL.
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  1         d) Documents in Related Cases
  2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
  3          . electronic filing has been-implemented in-that
                                                         _ case type, regardless of whether the case has
  4            been related to a Civil case.

  5    3) EXEMPT LITIGANTS
  6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

  7            from mandatory electronic filing requirements.
  8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

  9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

 10            from filing documents electronically and be permitted to file documents by conventional
 11            means if the party shows undue hardship or significant prejudice.

 12    4) EXEMPT FILINGS -
 13         a) The following documents shall not he filed electronically:
 14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
  15                  Civil Procedure sections 170.6 or 170.3;
 16            ii)    Bonds/Undertaking documents;
 17            iii)   Trial and Evidentiary FIearing Exhibits
 18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
 19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and
 20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
 21                   electronically filed. A courtesy copy of the electronically filed motion or application to
 22                   submit documents conditionally under seal must be provided with the documents
 23                   submitted conditionally under seal.-      -
 24         b) Lodgments
 25            Documents attached to a Notice of Lodgment.shall be lodged and/or served conventionally in
 26:   paper_Iferrn. qhe actual do      ent-enti&d.;-"-NottwLof-Lpdgmenti"shall be-filed tfectronizally:
 27    /-

 28    //


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a.


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        1    5) ELECTRONIC FLUNG SYSTEM WORKING PROCEDURES
        2       Electronic filing service providers must obtain and manage registration information for persons
       _3       and entities electronically-filing with the court.
                        -
        4    6) TECHNICAL REQUIREMENTS

        5        a) Electronic documents must be electronically filed in PDF, text searchable format when

        6           technologically feasible without impairment of the document's image.

        7        b) The table of contents for any filing must be bookmarked.

        8        c) Electronic documents, including but not limited to, declarations, proofs of service, and

        9           exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

       10           3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked

       11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
        12           bookedmarkeci item and briefly describe the item.
       13        d) Attachments to primary documents must be bookmarked. Examples include, but are not

        14           limited to, the following:
       15           i)     Depositions;

       16           ii)    Declarations;
       17           iii)   Exhibits (including exhibits to declarations);
        18          iv)    Transcripts (including excerpts within transcripts);

       19            v)    Points and Authorities;

       20            vi)   Citations; and
       21           vii) Supporting Briefs.
       22        e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
       23           encouraged.

       24        f) Accompanying Documents
       25           Each document acompanying a single pleading must be elecironically filed as a separate

                    _ digal_PDE document.             _ •                                    -   7


     -- 27       g) Multiple Documents
       28            Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                                 4
                                FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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         h) Writs and Abstracts

            Writs and Abstracts must be submitted as a separate electronic envelope.

  3      i) Sealed Documents

  4         If and when a judicial officer orders documents to be filed under seal, those documents must be

  5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
  6         the documents as sealed at the time of electronic submission is the submitting party's
  7         responsibility.

  8      j) Redaction

  9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
  10        redact confidential information (such as using initials for names of minors, using the last four
  11        digits of a social security number, and using the year for date of birth) so that the information
 12         shall not be publicly displayed.
 13    7) ELECTRONIC FILING SCHEDULE
  14     a) Filed Date
 15         i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
 16             shall be deemed to have been effectively filed on that court day if accepted for filing. Any
 17             document received electronically on a non-court day, is deemed to have been effectively
  18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code

  19            Civ-. Proc. § I010.6(b)(3).)

 20         ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
 21             course because of: (1) an interruption in service;(2) a transmission error that is not the
 22             fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court May
 23            . order, either on-its own motion or by noticed mOtion submitted with
                                                                                 _ a declaration for-Court -
 24             consideration, that the document be deemed filed and/or that the document's filing date
 25             conform to the attepted transmission date.

 26    )
       ,EX-TARTET/22PPLICATIONS
 27      a) Ex paste applications and all do-Euments in support thereof must be electronically filed no later
 28         than 10:00 a.m. the court day before the ex parte hearing.


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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   1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
  2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
  3       _ application must be provided to the court the day of the ex parte hearing.
  4    9) PRINTED COURTESY COPIES

  5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

  6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
  7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
  8         b y 10:00 a.m. the next business day.

  9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
  10        electronic submission) is required for the following documents:
  11         i)   Any printed document required pursuant to a Standing or General Order;
  12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26

  13              pages or more;
  14       iii)   Pleadings and motions that include points and authorities;
  15        iv)   Demurrers;
  16              Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
  17        vi)   Motions for Summary Judgment/Adjudication; and
  18       vii)   Motions to Compel Further Discovery.

  19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
 20         additional documents. Courtroom specific courtesy copy guidelines can be found at
  21         w ww.lacourt.org on the Civil webpage under "Courtroom Information."
 22 10) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

 23      a) Fees and costs associated with electronic filing must be waived for any litigant who has
  24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
  25         1010.6(d)(2).)

  26       ,- Feelvniver agpjicaticins forwaiver-of mug fe-e and ceittptirsuant to COde-of-egiiiil Proa tire-
  27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f); may be
  28         electronically filed in any authorized action or proceeding.

                                                             6
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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       1    I)SIGNATURES ON ELECTRONIC FILING

      2        For purposes of this General Order, all electronic filings must be' in compliance with California

      3        Rules of Court, rule 2,257. This General Order applies to documents filed within the Civil

      4        Division of the Los Angeles County Superior Court.

      5

      6            This First Amended General Order supersedes any previous order related to electronic filing,

      7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

      8     Supervising Judge and/or Presiding Judge.

      9

      10    DATED: May 3, 2019
                                                                 KEVIN C. BRAZILE
      11
                                                                 Presiding Judge
      12

      13

      14

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                              FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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  2                                        Sherri R.Carter, ; cotive Officer/Clult
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                                                                        :Deputy
  3                                               Annus fchilarlan


 4

 5                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 6                  FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT

 7    In re Personal Injury Cases Assigned to the )       EIGHTH AMENDED STANDING ORDER
      Personal Injury Hub Courts (Spring Street )         FOR PROCEDURES IN THE PERSONAL
 8                                                )       INJURY HUB COURTS EFFECTIVE
      Courthouse)                                 )       OCTOBER 10, 2022
 9

 10

 11                STANDING ORDER RE:PROCEDURES AT PERSONAL INJURY

 12                   HUB COURTS AT THE SPRING STREET COURTHOUSE

 13          The Superior Court of California, in and for the County of Los Angeles(Superior Court,

 14   Los Angeles County), hereby issues the following order prescribing the procedures to be

 15   followed in the Personal Injury Hub Courts at the Spring Street Courthouse,

16    1.     Authority

17           This order is being made pursuant to the Code of Civil Procedure, the California Rules

18    of Court, rule 3.720, and the Superior Court, Los Angeles County, Local Rules, rule 3,23. It •

19    supersedes the following General and Standing Orders:

20           A.      Amended °client! Order Re: General Jurisdiction Personal Injury Cases — Filing

21                   Location (5/16(2014); -

22           13.     First Amended Standing Order Re: Final Status Conference, Personal Injury

23"                  ("PI")--
                           6tiiits'(4/16/20.18);


                                         PAGE I OF 19
                       EIGHTH AMENDED STANDING ORDER FOR PROCEDURES IN
                                THE PERSONAL INJURY HUB COURT
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                                                                                             2022-S1-0011-B3


   I               C.     First Amended Standing Order Re: Personal Injury Procedures at the Spring

   2                      Street Courthouse (2/24/2020);

                   D.     Third Amended Startling Order Re: Final Status Conference, Personal Injury

                         ("PI") Courts (2/24/2020);

  5                E.     Fifth Amended Standing Order Re; Mandatory Settlement Conference

  6                      (2/24/2020);

  7            •   F.     Amended Supplemental Standing Order re Covid Protective Measures Related to

  3                       Final Status Conferences in Personal Injury Cases at the Spring Street Courthouse

  9                      (12/22/2020);

 10                G.     Sixth Amended Standing Order Re: Mandatory Settlement Conference

 11                      (6/23/2021);

 12                H.     Second Amended Supplemental Standing Order re Covid Protective Measures

 13                       Related to Final Status Conferences in Personal Injury Cases at the Spring Street

 14                       Courthouse (10/08/2021) and

 15                       Seventh Amended Standing Order for Procedures in the Personal Injury Hub

 16                       Courts(5/16/2022).

 17       2.       Assignment of Personal Injury (PI) Cases to Judicial Districts; Assignments within

 18                Central District

 19                0      Unless otherwise ordered, all pending cases remain where they are assigned.

 20                o      On or after October 10, 2022, all newly filed PI cases, as defined in Los-Angeles

 21                       County Local Rules, rule 2.3, shall be filed in the judicial district where the

 22                       incident arose,

 23- -7

                                             PAGE 20F 19
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                                    THE PERSONAL INJURY HUB COURT
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                                                                                                        2022-S1-008-03


               O      Parties filing PI cases should use the filing court locator on the Los Angeles

  2                   Superior Court website to determine the appropriate filing location

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  4                   !.111P. :il    .110.!t111:(1n.1/.. iill!.!0C.1.0Pc.1/11111-11.1.0gc.;11.101,i1WN;MC.1).

  5           On or after October 10, 2022, all newly filed PI cases assigned to the Central District

  6   shall be assigned to a Personal Injury Hub court unless the case type is one of the following:

  7           O 2401 Product Liability (not asbestos or toxic/environmental)

  8           O 2402 Product Liability — Song-Beverly Consumer Warranty Act (Civil Code,

  9                sections 1790-1795.8)(Lemon Law)

 10           O 2305 Elder/Dependent Adult Abuse and Claims Against Skilled Nursing Facility

 11           o 2306 Intentional Conduct - Sexual Abuse Case (in any form)

 12           O 2308 Landlord - Tenant Habitability (e.g., bed bugs, mold, etc.)

 13           o 4501 Medical Malpractice - Physicians & Surgeons

 14           CI 4502 Other Professional Health Care. Malpractice

 15           These cases will be assigned to Independent Calendar Courts which will handle such

 16   cases for all purposes, including trial.

 17   3.      Assignment to PI Hub Court and Final Status Conference, Trial, and Order to

 18          Show Cause Dates

 19           All PI Cases filed in the Central District will be assigned to the PI Hub Court. Upon

 20   filing, a case will be assigned a trial date 9proximately 18 months from the filing date, a-Final -
           _

 21   Status Conference (FSC)date approximately eight court days prior to the trial date, and a date

 22  for a hearing on-an Order to Show Cause why the case should not be dismissed pursuant to Code
                                                                                   _
 23. f iVil Procedure, sectia
                            -  tis 583.4-R)
                                          , und 58420 approxiniaTely 24 moritlis from the Fri in-g-date:


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                         EIGHTH AMENDED STANDING ORDER FOR PROCEDURES IN
                                  THE PERSONAL INJURY HUB COURT
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  I   4.      Transferring Cases from the P1 Hub Courts

  2           The PI Hub Courts may transfer a case sari Aponte based upon a determination that the

      case is-eithernot a PI case or that it requires more case management than the P1 Hub Court can

  4    provide, given their case inventories.

              Filing of Documents

  6           Except for self-represented litigants or counsel who have obtained an exemption from

  7    mandatory electronic filing, parties must electronically file documents. Filings are no longer

      accepted via facsimile. The requirements for electronic filing are detailed in the Superior

      Court, Los Angeles County's operative General Order Re Mandatory Electronic Filing for

 10   Civil, available online at hun://www.lacourt.orddivicinti/efiline/pc11/GenOrclCivilEfiling.,i2L

 11   6.      Service of Summons and Complaint

 12           Plaintiff(s) shall serve the summons and complaint upon defendant(s) within 60 days of

 13   filing of the complaint. (California Rules of Court, rule 3.110(b).) Failure to do so may result

 14   in the imposition of sanctions. (Code of Civil Procedure, sections 128, 177.5; California Rules

 15   of Court, rule 2.30.) In addition, at a hearing on an Order to Show Cause re Dismissal (described

 16   in Paragraph three above), the PI Hub Courts may dismiss the case and/or all unserved parties

 17   unless plaintiff(s) shows cause why the case or the unserved parties should not be dismissed.

 18 (Code of Civil Procedure, sections 583.410, 583.420.)

 19   7.      Stipulations to Advance or Continue Trial

 20         _ -The Court
                   -     may honor stipulations by all parties
                                                        .      to a case to advance or continue a

 21   provided .that the proposed trial date is not beyond 24 months of the filing of the complaint,

 22   without a showing of good cause.
                                                                       -
-23-- 7//


                                          PAGE 4 OF I!)
                        EIGHTH AMENDED STANDING ORDER FOR PROCEDURES IN
                                 THE PERSONA L I WRY FIU13 COURT
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             To advance or continue a trial date, the parties (or their counsel of record) should

  2 jointly execute and submit a (Proposed) Order and Stipulation to Continue Trial, FSC [and

  3   Related Motion/Discovery Dates Persona! Injury Coui:ts Only (Central District)][LAM-

  4         .2-1 2). The PI Hub Courts schedule FSCs at 10:00 a.m., approximately eight court days

  5   before the trial date. Parties seeking to advance or continue trial and FSC dates shall file the

  6   stipulation at least eight court days before the existing FSC date. (Code of Civil Procedure,

  7   section 595.2; Government Code, section 70617(c)(2).) In selecting a new trial date, parties

  8   should avoid setting on Mondays, or Tuesdays following a court holiday.

  9           Parties may submit a maximum of two stipulations to continue trial for a total

 10   continuance of six months before 24 months of the filing of the complaint. Other requests to

 11   continue trial will be granted only upon a showing of good cause by noticed motion.

 12 8.        No Case Management Conferences

 13          The PI 1-1 ub Courts do not conduct case management conferences. Thus, the parties need

 14   not file a Case Management Conference Statement.

 15   9.     Law and Motion

 16          A.       Reservation Hearing Date

 17                  Parties must reserve hearing dates for motions in the PI Hub Courts using the

 18   Court Reservation System (CRS)available online (www.lacourt.ore), After reserving a motion

 19   hearing dale, the reservation reqttestor must submit the moving papers for filing with the

 20   reservation receipt number printed on the face page of_the document under the caption and attach

 21   the reservation receipt us the last page. •

 22                 As soon a a reservation requestor realizes that a motion hearing, or other
                                                                                        :..;:   1-.
      proieedinirtqUirilig a reservatiliii. in the F1'Hub Colas,=such as in Informal- Discovery


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                       EIGHTH AMENDED STANDING ORDER FOR PROCEDURES IN
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  I   Conference (1DC) will not be necessary-, the reservation requestor shall immediately use CRS to

  2   cancel the reservation for the motion hearing, or other proceeding requiring a reservation.

  3           If the moiling party deems the hearing date to be too far in the future (for example, after

  4   the trial date), parties should check CRS from time to time because earlier hearing dates may

  5   become available us cases settle or hearings are taken off calendar. Except in extraordinary

  6   circumstances, the court will not grant ex parte applications to advance a hearing date because it

  7   is set after a trial date. If a hearing is set after the trial date, the moving party should seek to

  8   continue the trial by noticed motion instead.

  9           B.      Electronically Filed Documents

 10                   Any and all electronically filed documents must be text searchable and

 11   booktnarked pursuant to the operative General Order re Mandatory Electronic Filing for Civil,

 12   Gener.11 OttIci lc IVI,Iiitititorv lectrunie Finny. in Civil.

 13           C.      Courtesy Copies

 14                   Courtesy copies are required for Ex Parte Applications. Motions for Summary

 15   Judgment, Oppositions to Ex Parte Applications and Motions for, Oppositions to, and Replies to

 16   Oppositions to Motions for Summary Judgment or Summary Adjudication.

 17                   Courtesy copies must be submitted directly to the assigned PI Flub Court at the

 18   Spring Street Courthouse. The PI Hub Courts strongly encourage the parties filing and

 19   opposing lengthy motions for summary judgment or adjudication, to submit one or more three-

 20   ring binders organizing the courtesy copies behind tabs. Any courtesy copies of documents

 21   with declarations and/or exhibits must be tabbed.(California Rules of Court, rule 3.11 10(1).)

 22   All deposition excerpts referenced in briefs must be marked on the transcripts attached as

/3-          -7-7'7
                  -




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  1   exhibits. (California Rules of Court, rule 3.1 116(c).) Courtesy copies, including any media

  2   attached thereto, will be destroyed by the Court without notice following the hearing.

  3           D._.   Withdrawal of Motions

  4                  If a moving party takes a motion off a PI Hub court's calendar, the moving party

  5   must notify the court immediately and should remove the item from the Court's calendar on

  6   CRS.(California Rules of Court, rule 3.1304(b).) If. in response to a demurrer or a motion to

  7   strike, a party exercises its right to amend a pleading as prescribed by Code of Civil Procedure

  8   section 472(a), the court requests that party work with the party who filed the demurrer or motion

  9   to strike to take the demurrer or motion to strike off calendar so that the PI Hub Courts do not

 10   needlessly prepare tentative rulings.

 11           E.     Motions to Compel Further Responses to Discovery

 12                  PI Hub Courts will not hear Motions to Compel Further Discovery Responses to

 13   Discovery until the parties have engaged in an Informal Discovery Conference(IDC).

 14                  PI Hub Courts may deny or continue a Motion to Compel Further Responses to

 15   Discovery if parties fail to schedule and complete an IDC before the scheduled hearing on a

 16   Motion to Compel Further Responses to Discovery.

 17                  After meeting and conferring about available dates for an IDC, the

 18   moving/propounding party shall reserve an IDC through CRS (see paragraph 9 above) and

 19   provide notice of the reserved IDC to the opposing/responding party by filing and serving an

 20   Informal Discovery Conference Form for Personal Injury Courts-_LNic...(11Y _23.2..at least 15

 21   court days before the IDC and attach the CRS reservation receipt as the last page. The IDC will

 22   not be "scheduled" by the court until the IDC Form is filed. The opposing/responding party

                                  •

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        I   may file and serve a responsive IDC Form at least 10 court days before the IDC. All parties

        2   Shall briefly set forth their respective positions on the pending discovery issues on the IDC Form.

        3                   Ideally, the-parties should participate in an IDC before a Motion to 'Compel

        4   Further Discovery Responses is filed because the IDC may avoid thc necessity of such a motion

        5   or, at least, reduce its scope. Because of that possibility, parties are encouraged to stipulate to

        6   extend the deadline for filing a Motion to Compel Further Discovery Responses by 60 days in

            order to allow time to participate in an IDC and to informally resolve the pending discovery

        8   issues.

        9                   Note: Reserving or scheduling an IDC does not extend the time to file a Motion

       10   to Compel Further Discovery Responses.

       11                   If parties do not stipulate to extend the deadline(s) to file a Motion to Compel

       12   Further Discovery Responses, the moving/propounding party may file the motion to avoid it

       13   being deemed untimely. However, the IDC must take place before the motion is heard so it is

       14   suggested that the moving party reserve a date for the motion hearing that is at least 60 days after

       15   the date when an IDC is scheduled. Note: A party's failure to stipulate to extend the time to

       16   bring a Motion to Compel Further Discovery Responses so that an IDC may be held may subject

       17   the parties and/or counsel to the imposition of sanctions.

       18                  The PI Hub Courts have found that, in most cases, IDCs are successful at assisting

       19   the parties to amicably resolve their discovery disputes, and in resolving the case as a whole.

       20   The purpose of the IDC is _to assist the parties to resolve and/or narrow, the-scope-of discovery

       21   disputes. Therefore, parties, through their respective counsel of record with full authority to

       22   make binding agreements, shall participate in the scheduled IDC. The PI Hub Courts have found

      —23   dig most.1:1
                     - i-scoerRiRptitesitsult from a faildre to-meanin-gfully meet and confer on the pending_


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  1   discovery issues. The PI Hub Courts generally find that meeting and conferring by only

  2   exchanging letters and e-mails, as opposed to actual conversation, are insufficient and

      ineffective. Thus, imrequesting an )DC, the panics must indicate on their IDC forms what efforts

  4   were made to informally resolve pending discovery issues, which must include in-person or

      virtual meetings or telephonic communications. (The PI Hub Courts require this same showing

      i n declarations filed in support of, and in opposition to, Motions to Compel Further Discovery

  7   Responses.)

  8                  Time permitting, the PI Hub Courts may be available to conduct IDCs to resolve

  9   other types of discovery disputes.

 10   10.     Ex Parte Applications

 11          The PI Hub Courts will only grant ex pane relief upon a showing, by admissible

 12   evidence, that the moving party will suffer "irreparable harm," "immediate danger," or where

 13   the moving party identifies "a statutory basis for granting relief ex parte." (California Rules of

 14   Court, rule 3.1202(c).) The PI Hub Courts have no capacity to hear multiple ex parte

 15   applications or to shorten time to add hearings to their fully booked motion calendars. Given

 16   the PI Hub Courts' impacted calendars, a PI Hub Court's unavailability for timely motion

 17   hearings is not an "immediate danger" or threat of "irreparable harm" justifying ex parte relief.

 18   Instead of seeking ex parte relief, the moving party should reserve the earliest available motion

 19   hearing date (even if it is after the scheduled trial date) and file a noticed motion to continue the

 20

 2L           And, again, parties should check CRS from time to time because earlier hearing dates

 22   may become available as cases settle or heari ngs are taken off calendar.
                                                                                      z.
      ///


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       I   11.     jury Fees

      2            Parties must pay jury fees no later than 365 calendar days after the filing of the initial

     -3    complaint.(Code of Civil Proceclure ectiori 631(c)(2).)

      4    12.     Final Status Conference

                   A.      Purpose

      6                    The purpose of the FSC is to verify that the parties are completely ready to

      7    proceed with trial continuously and efficiently, from day today, until verdict. The P1 Hub Courts

      8    will verify at the FSC that all parties have(1)prepared all necessary trial documents, and (2) met

      9    and conferred in an effort to stipulate to ultimate facts, legal issues, Motions in Limine, and the

     10    authentication/foundation and admissibility of exhibits.

     11            B.      Trial Documents to Be Filed

     12                    At least five calendar days prior to the FSC, the parties shall serve and file the

     13    following Trial Readiness Documents:

     14                    I.      Trial Briefs(Optional)

     15                            Each party may, but is not required to, file a trial brief succinctly

     16    identifying:

     17                            a. the claims and defenses subject to litigation;

     18                            b. the major legal issues (with supporting points and authorities);

     19                           c. the relief claimed and calculation of damages sought; and

     20                            d. any other information that may assist the court at trial, _

     21                            Motions in Limine.

     22                            Before filing Motions in Limine, the parties shall comply with the
                                                                       -        _
     2,3 - statutory notieeprotilsionii of-eCide-Of vill-Pit--cedure sectioti 1005-find the requir-em-ents of the

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      I   Superior Court, Los Angeles County, Local Rules, rule 3.57(a). The caption of each Motion in

          Limine shall concisely identify the evidence that the moving party seeks to preclude. Parties

      3 filing lilOre than one Motion -in Limine shall number them consecutively.               Parties filing

          opposition and reply documents shall identify the corresponding motion number in the caption.

      5                  3.      Joint Statement to Be Read to the Jury

      6                          For jury trials, the parties shall prepare and file a joint written statement

      7   of the case for the trial court to read to the jury. (Superior Court, Los Angeles County, Local

      8   Rules, rule 3.25(g)(4).)

      9                  4.      Joint Witness List

     10                          The parties shall prepare and file a joint, alphabetized by last name, list of

     11   all witnesses that each party intends to call, excluding impeachment and rebuttal witnesses.

     12 (Superior Court, Los Angeles County, Local Rules, rule 3,25(g)(5).) Thejoint witness list shall

     13   identify each witness by name, specify which witnesses are'non-experts and experts, estimate

     14   the length of the direct, cross, and re-direct examination of each witness, and include a total

     15   number of hours for all witness testimony. The parties shall identify all potential witness

     16   scheduling issues and special requirements. Any party who seeks to elicit testimony from a

     17   witness not identified on the witness list must first make a showing of good cause to the trial

     18   court.

     19                  5.      List of Proposed Jury Instructions (Joint and Contested)

     20                         The parties shall jointly prepare and file a list of proposed jiffy

     21   instructions, organized in numerical order, including columns to indicate whether an instruction

     22   is agreed to or contested. In addition, the List of Proposed Jury Instructions must include
                                                                                            —




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           columns for a trial judge to indicate whether an instruction was given, given as modified, refused

      2 or withdrawn. (California Rules of Court, rule 2.1055.)

                           6.      Jury Instr-uctions (Joint and-Contested)

      4                            The parties shall prepare a complete set of full text proposed jury

      5    instructions in a format ready for submission to the jury, by editing all proposed California Civil

      6    Jury Instructions including inserting party name(s) and eliminating blanks, brackets, and

      7    irrelevant.material. The parties may prepare special instructions in a format ready for submission

           to the jury with the instruction number, title, and text only (i.e., there should be no boxes or

           other indication on the printed instruction itself as to which party is requesting the

     10    instruction).

     11                    7.      Joint Verdict Form(s)

     12                            The parties shall prepare and jointly file a proposed general verdict form

     13    or special verdict form (with interrogatories) acceptable to all parties. (Superior Court, Los

     14    Angeles County, Local Rules, rule 3.25(g)(8).) If the parties cannot agree on ajoint verdict form,

     15    each party must separately file a proposed verdict form.

     16                    8.      Joint Exhibit List

     17                            The parties shall prepare and file a joint exhibit list organized with

     18    columns identifying each exhibit, setting forth stipulations, if any, to authenticity/foundation

     19    and admissibility of exhibits, and specifying evidentiary objections, if any, to the admission of

     20    an exhibit. If an objection loan exhibit is not articulatecLon the exhibit list, the trial court may

     21    deem the exhibit admitted. The parties shall meet and confer regarding stipulations to

     22    authenticity/foundatiOfi and admissibility of exhibits, and to resolve objections, if any, to the
                                                                                                    J•

    .„23   admissioii.of an-exhibit.,..beforEfiling theloint


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                        9.      Page and Line Designation for Deposition and. Former Testimony

     2                          If the parties intend to use deposition testimony or former trial testimony

 -3      in lieu orally. •witness live testimony, the-parties shall meet and confer', and jointly prepare and

     4   file a chart with columns for each of the following: I) the page and line designations of the

         deposition or former testimony requested for use, 2)objections, 3) counter-designations, 4)any

     6   responses thereto, and 5) the court's ruling.

     7          C.      Items to be Presented at the Final Status Conference

     8                   I.     Trial Binders

  9                             The parties shall jointly prepare (and be ready to temporarily lodge) 3-

 1       ring binders containing conformed (filed in eCourt)copies of all the following:

 11                             Tab A: Trial Briefs (Optional)

 12                             Tab B: Motions in Limine

 13                             The parties shall organize Motions in Limine (tabbed in numerical order)

 14                             with the opposition papers and reply papers for each motion placed

 15                             directly behind the moving papers.

 16                             Tab C: Joint Statement to Be Read to the Jury

 17                             Tab D: Joint Witness List

 18                             Tab IC: Joint List of' Jury Instructions (identifying the agreed upon and

 19                             contested instructions)

 20                            Tab IF; Joint and Contested Jury Instructions

 21                            The parties shall organize proposed jury instructions with the agreed upon -
                                                                                  _
 22                            instructions first in order followed by the contested instructions(including
                                                                        -
                               special'instructionS) submitted by eitCh party,


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                                 Tab G: Joint and/orContemed Verdict Form(s)

  2                              Tab H: Joint Exhibit List

  3                              Tab 1:. Joint Chart Of Page and Lille -Design.ittion(s) for Deposition- and

  4                              Former Testimony

  5                              Tab 3: Copies of the Current Operative Pleadings(including the operative

  6                              complaint, answer, cross-complaint, if any, and answer to any cross-

  7                              complaint).

  8                    2.        Filing and Electronic Submission of trial documents

  9                              In an effort to reduce the number of in-person appearances in the PI Hub

 1(1   Courts, in addition to the parties fling and serving the Trial Documents at least five calendar

 11    days prior to the FSC, two court days prior to the FSC,the parties must provide the PI Hub Court

 12    with the trial binders in electronic form (see below). This will allow parties to appear remotely

 13    for the FSC and provide the PI Hub Courts with the opportunity- to review the trial binders to

 14    determine whether parties are ready for trial. Hard copies of the trial binders will continue to be

 15    required for the trial,

 16                              a.     The parties must submit in one PDF conformed copies of the joint

 17                                     statement of the case, joint witness list, joint list of jut),

 18                                     instructions, full-text joint and contested jury instructions, joint

 19                                     and/or contested verdict form(s),joint exhibit list,joint deposition

 20                                    _ designation chart, and operative pleadings as listed in paragraph

 21                                     C.II. above (Tabs C through J).   -

 22                              b.     Thetrial briefs and Motions in Limine,oppositions, and replies, if
                                                                                       _
                                                                              -                      -=
                                        anS1,-allat   subMitted in u 'separate 15DF as listed in paragraph


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                           C.1 above (Tabs A and B). If a Motion in Limine and exhibits

  2                        thereto exceed 10 pages, the parties may submit just the face

  3                      " page of the motion. -(The entire motion will still need to be

  4                        brought to the trial in the appropriate binder.)

  5                 c.    The PDFs must be text searchable.

  6                 d.    The PDFs must be bookmarked which is essentially an electronic

  7                        tab NO that the PI Hub Court is able to find and navigate among the

  8                        trial documents.

                          (See httnYllhelpx.adohc.coin/acrobat/tisinOoagc-thumbnails-

 10                        hoitinarlsN .ndk.litml for bookmarking instructions.)

 11                 c.    The PDFs must be emailed to the applicable email address listed

 12                       below:

 13                                Department 27 at y,cclept27FSC@LACourt.oril

 14                                Department 28 at ,sceden128FSC @LACourt.or;

 15                                Department 29 at ,,sedern29FSC@LACourt.orv.

 16                                Department 30 at NSCCICP130i•SC.01..ACoun.org

 17                                Department 31 at , cclept3 I FSC@LACouvt.ort!

 18                                Department 32 at k,,edent321-SC@LACouri.ore

 19                 f.    The subject line in the email must include identifying case

20                        information as follows:

21                       firma Case Number] Trial Readiness Binder, FSC, (Insert •

22                       • MM/DD/YEAR of Hearing Date] (e.g., 20STCV00001 Trial

23                        Readiness Binder, FS-C=01/1-1/2022)


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   1                          g.      Each email should have two PDFs attached — one containing the

  2                                   trial documents and the other containing the trial briefs and

                                      Motions in Limine, if applicable.

  4                            h.     The parties need not email the evidentiary exhibit binders to the

  5                                   PI Hub Court for the FSC. However, the parties shall prepare the

  6                                   exhibit binders as required (see section 1 Evidentiary Exhibits,

  7                                   below) and be prepared to represent to the PI Hub Court that the

  8                                   binders have been properly prepared. Hard copies of the exhibit

  9                                   binders will be required for the trial court.

 10                   3.      Evidentiary Exhibits

 11                           The parties shall jointly prepare (and be ready to temporarily lodge for

 12    inspection at the FSC) three sets of tabbed, internally paginated by document, and properly

 13    marked exhibits, organized numerically in three-ring binders(a set for the trial court, the judicial

 14    assistant, and the witnesses). The parties shall mark all non-documentary exhibits and insert a

 15    simple written description of the exhibit behind the corresponding numerical tab in the exhibit

 16    binder.

 17              D.   Failure To Comply with Final Status Conference Obligations

 18                   The PI Hub Courts have the discretion to require any party or counsel of record

 19    who fails or refuses to comply with this Standing Order to show cause why the court should not

 20    i mpose monetary, evidentiary, and/or issue sanctions (including the entry of-a default or the

 21 . striking of an answer)(Code of Civil Procedure, section 575.2).

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- 23

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   1   13.             Mandatory Settlement Conferences

   2                   Mandatory Settlement Conferences(MSC)are available on a virtual platform hosted by

   3   the Beverly Hills Bar Associatisin at ResolveLawLA.com. MSCs are conducted by volunteer

   4   attorneys from the American Board of Trial Advocates, the Association of Southern California

   5   Defense Counsel, the Consumer Attorneys Association of Los Angeles, and the Beverly Hills

   6   Bar Association and are overseen by the court.

  7                    MSCs are available in cases with two sides' 1) by stipulation, or 2) by court order at the

  8    Final Status Conference. If parties stipulate to participate in a ResolveLawLA MSC, they must

   9   seek leave of court to do so, by making an ex parte application using the PI I Rib MSC

 10    500.0.,.1Q9A. form. Both parties should appear at the ex parte hearing. At the Final Status
  11   Conference, the court may order parties to participate in a MSC if the court feels that it could

 12    assist the parties in resolving the case.

 13                    Whether by stipulation or court order, parties must access the ResolveLawLA website

 14          NX.       Re'stli%   el .awl.A.L:taii to create an account and register the case for MSC within two court

 15    days of the court's order of the MSC. Plaintiff or his, her or their counsel (plaintiff) must

 16    coordinate with defendant or his, her or their counsel (defendant) and select a mutually agreed

 17    upon date and time for the MSC prior to the trial date. Plaintiff shall also provide the name,

 18    email address, and phone number.for Defendant when registering the case for an MSC.

 19                           A MSC brief shall be lodged by each party at ResolveLawLA.com and served

 20    on all parties not less than five court days before the scheduled MSC. The settlement                     -

: 21   conference statement shall be limited to five pages on the MSC Brief and 10 pages for exhibits.

 22                —

—23                           _-       -                      :.-•
                   'Cases with eross•eompluints or sepurittely represented defenclunts sire not eligible.

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  1               ResolveLawLA MSCs are available at 9 a.m. and 1:30 p.m. Monday through Friday,

  2        excluding court holidays, and are conducted on a virtual platform. After a MSC is scheduled,

  -3       the ResolveLawLA system will send notifications via text and/or email and will-in-elude a. link

  4        for counsel, the parties, and insurance representatives to join the MSC remotely.

  5               Pursuant to California Rules of Court, rule 3.1380(6) and Superior Court, Los Angeles

  6        County, Local Rules, rule 3.25(d), counsel, the parties, and persons with full authority to settle

  7        the case (including insurance company representatives) must attend the MSC virtually unless a

  8 judicial officer has excused the virtual appearance for good cause. Once defendants are notified

  9        that a case has been scheduled for a MSC, defendants shall create their own login to the

 10        ResolveLawLA.com system, and shall list all parties, party representatives and insurance

 11        adjusters' names, phone numbers, and emails where indicated. In the event the MSC needs to be

 12    canceled or rescheduled, it must be canceled through ResolveLawLA.

 13               If the case settles before a scheduled MSC,parties shall forthwith notify the PI Hub Court

 14    to which the case is assigned of such settlement. The parties should also document their

 15    settlement agreement in writing signed by all parties whether before or at the scheduled MSC.

 16    14.        Trials

 17               The Pt Hub Courts do not conduct trials. On the trial date, all parties and/or their trial

 18    counsel must appear in person with trial nnd exhibit binders in the PI Hub Court assigned to

 19    the case. Upon confirming that the parties are trial-ready, the PI Hub Court will obtain a trial

 20    court assignment from Stanley Mosk Courthouse, department 1, and will inform- the parties

21     and/or trial counsel of the assignment. The parties then have 20 minutes within which lo exercise

 22    a .peremptory challenge to the assigned trial court, -
                                                            assuming that party had not previously
                                                     -                    -1-17
.23    exercised the partys right:to rinike suet a-challenge.
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              Should a plaintiff fail to appear at trial, the 191 Hub Court will dismiss the case without

  2    prejudice.(Code of Civil Procedure, section 581(b)(3).) If a defendant fails to appear at trial, the

       PI Hub court wilt obtain alrial court assignment from department I and the plaintiff will

  4    proceed with an uncontested trial pursuant to Code of Civil Procedure section 594 and Warden

  5    v. Lamb (1929)98 Cal.App, 738,741.

  6    15,    Sanctions

  7           The court has discretion to impose sanctions for any violation of this Standing Order.

  8 (Code of Civil Procedure, sections 128.7, 177.5, 187; Government Code, section 68608(b);

  9    California Rules of Court, rule 2.30.)

 10

 11    DATED: September 20, 2029

                                                          Judge David J. Cowan
 12
                                                          Supervising Judge, Civil Division
 13

 14

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                   Superior Court of California, County of Los Angeles




 THE PLAINTIFF:MUSISERVE                    INFORMATIONTACKAGMN EAMPARTYWITIKTHECOMPLAI

 CROSSLCOMPLAINANTSitus                          Rdiiformation
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR).These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money:Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR,litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotionS-that interfere with resolution.
                Mediation may not be appropriate- when the parties
                                                               •
                       want-a public triarand wInt a judge or jury to decide-the outcome.-
                   * lack equal bargaining power or have a history of physical/emotional abuse.



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                                   How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

            a. The.Civil
                _          Mediation Vendor Resource List
                                                                         -
              - If all parties in an active civil case agree to mediation, they may contact these organizations
                to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
                cases).

                    o    ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                        (949) 863-9800
                    a    Mediation Center of Los Angeles Program Manager infoPmediationLA.org
                        (833)476-9145


       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by video conference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourt.org/ADR.Res.List

       NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
       claims cases.

            b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

                Day of trial mediation programs have been paused until further notice.

                Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
                should carefully review the Notice and other information they may receive about(ODR)
                requirements for their case.

           c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

       3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       argumentsto the person who decides the outcome. In "binding" arbitration,the arbitrator's
       decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
       trial after the arbitrator'sdecision. For more information about arbitration, visit
       http://www.courts.ca.gov/programs-adrhtm

       4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close -
       to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
       officer who does not make a decision but who instead assists the parties in evaluating the strengths and
       weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
       Programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx.

       Los Angeles Superior Court ADR website: http://www.lacourtorg/divisionicivil/C10109.aspx
       For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                                        VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                           The Early Organizational Meeting Stipulation, Discovery
                                        Resolution Stipulation-, and Motions in Limine Stipulation are
        Suporlor Court of California    voluntary stipulations entered into by the parties. The parties
        County of Los Angolan
                                        may enter into one, two, or all three of the stipulations;
                                        however, they may not alter the stipulations as written,
                                        because the Court wants to ensure uniformity of application.
        Los Angoles County
        Bar Association                 These stipulations are meant to encourage cooperation
        Litigation Section

        LOB Angeles County
                                        between the parties and to assist in resolving issues in a
        Bar Aseociation Labor and
        Empioymont Law Section          manner that promotes economic case resolution and judicial
                                        efficiency.
        Cir
               11    hi I s Anc11:1
                                            The following organizations endorse the goal of
        Cormumer Attornoys
        Aseoclation of Los Angeles      promoting efficiency in litigation and ask that counsel
                                        consider using these stipulations as a voluntary way to
                                        promote communications and procedures among counsel
                                        and with the court to fairly resolve issues in their cases.

                                        0Los Angeles County Bar Association Litigation Section*
       Southern California
       Defense Counsul
                                                 •Los Angeles County Bar Association
       aid.......ilialStf
                        ...
                         16•4 1.41 Pi
                                                      Labor and Employment Law Section*

       Association of
       Business Trial Lawyers
                                           *Consumer Attorneys Association of Los Angeles*


                                                 *Southern California Defense Counsel*


                                                *Association:of Business_Trial Lawyer-s.--
        • • .• manoseigurnayetaser
       rellfornIn      Employment
       Lawyers Association
                                             *California Employment Lawyers Association*
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               TELEPHONE NO,:                               FAX NO.(OplIonol):
      E-MAIL ADDRESS (Optional): •
         ATTORNEY FOR(Name):
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      COURTHOUSE ADDRESS:

      PLAINTIFF:

      DEFENDANT:

                                                                                            CASE NUASREft

                STIPULATION — EARLY ORGANIZATIONAL MEETING

            This stipulation is Intended to encourage cooperation among the parties at an early stage in
            the litigation and to assist the parties in efficient case resolution.

            The parties agree that:

            1. The parties commit to conduct an Initial conference (in-person or via teleconference or via
               videoconference) within 15 days from the date this stipulatton is signed, to discuss and consider
               whether there can be agreement on the following:

                   a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                      amendment as of right, or If the Court would allow leave to amend, could an amended
                      complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
                      agree to work through pleading Issues so that a demurrer need only raise issues they cannot
                      resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                      would some other type of motion be preferable? Could a voluntary targeted exchange of
                      documents or information by any party cure an uncertainty In the pleadings?

                   b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, In an
                      employment case, the employment records, personnel file and documents relating to the
                      conduct In question could be considered "core." In a personal Injury case, an Incident or
                      police report, medical records, and repair or maintenance records could be considered
                      "core.");

                   c. Exchange of names and contact information of witnesses;

                   d. Any Insurance agreement that may be available to satisfy part or all of a Judgment, or to
                      Indemnify or reimburse for payments made to satisfy a Judgment;

                   e. Exchange of any other Information that might be helpful to facilitate understanding, handling,
                      or resolution of the case In a manner that preserves objections or privileges by agreement;

                   f. Controlling issues of law that, if resolved early, will promote efficiency and economy In other
                      phases of the case. Also, when and how such Issues can be presented to the Court;
                      _
                   g. Whether or Whin the Case shljuld be scheduled with a settlement officer, what discovery or
                      court ruling on legal Issues is reasonably required to make settlement discussions meaningful,
                      and whether the parties wish to use a sitting judge or a private mediator or other options as
             LACIV 229(new)
             LASC Approved 04111           STIPULATION — EARLY ORGANIZATIONAL MEETING                                  Page 1012
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                        discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                        complaint;

                    h. Computation of damages; including documents not privileged or protected from disclosure, on
                       w hich such computation is based;

                    I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                       wwwlasuperiorcourtore under "Civil" and then under "General Information").

               2.       The time for a defending party to respond to a complaint or cross.complaint will be extended
                        to                         for the complaint, and                            for the cross-
                                   (INSERT OATE)                                     (INSERT DATE)
                        complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                        and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                        been found by the Civil Supervising Judge due to the case management benefits provided by
                        this Stipulation.

               3.       The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                        and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                        results of their meet and confer and advising the Court of any way it may assist the parties'
                        efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                        the Case Management Conference statement, and file the documents when the CMC
                        statement is due.

               4.       References to "days" mean calendar days, unless otherwise noted. If the date for performing
                        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                        for performIng that act Wall be eXtended to Mb next Court day

               The following parties stipulate:

                Date:

                          (TYPE OR PRINT NAME)                                      (ATTORNEY FOR PLAINTIFF)
                Data:

                          (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
                Date:

                          (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
                Date:

                          (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
                Date:

                       (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
                Date: ,

                          (
                          - TYPE                                             (ATI-ORREY- OR
                          _ •                 -    - -

                          (TYPE OR PRINT NAME)                               (ATTORNEY FOR

                LAM 229 Om)
                LASC Approvod 04/11      STIPULATION — EARLY ORGANIZATIONAL MEETING                              Pap 2 or 2
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                                                                                                                     .

                  TELEPHONE NO.:             _                    FAX NO.(Optional):                                       _
      E MAIL ADDRESS (Oplfonal):
         ATTORNEY FOR (Nome*
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

     PLAINTIFF:


     DEFENDANT:

                                                                                             CASE NUMBER:
                      INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Discovery Resolution Stipulation of the parties)     •
            1. This document relates to:
                  0       Request for informal Discovery Conference
                  0       Answer to Request for Informal Discovery Conference
            2. Deadline for Court to decide on Request:                           (Insert data 10 calendar days following filing of
                  the Request).
            3. Deadline for Court to hold Informal Discovery Conference:                                                 (insert data 20 calendar
                  days following filing of the Request).
            4, For a Request for informal Discovery Conference, briefly describe the nature of the
               discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
               Request for Informal Discovery Conference, briefly describe why the Court should deny
               the requested discovery, including the facts and legal arguments at issue.




            LACIV 094(new)                             INFORMAL DISCOVERY CONFERENCE
            LASC Approved 04/11                  (pursuant to the Discovery Resolution Stipulation of the parties)
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            TELEPHONE NO.:                               FAX NO.(OplIonal);
   E•MAIL ADDRESS (Optional):
      ATTORNEY FOR(Nama):
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:


  PLAINTIFF:

  DEFENDANT:

                                                                                            CASE num°tst
                       STIPULATION — DISCOVERY RESOLUTION

         This stipulation Is intended to provide a fast and Informal resolution of discovery issues
         through limited paperwork and an informal conference with the Court to aid In the
         resolution of the issues.

         The parties agree,that:

         1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
            the moving party first makes a written request for an Informal Discovery Conference pursuant
            to the terms of this stipulation.

         2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
            and determine whether It can be resolved informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            orally or In writing.

         3. Following a reasonable and good faith attempt at an Informal resolution of each issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                      a. The party requesting the Informal Discovery Conference will:

                         I.       File a Request for informal Discovery Conference with the clerk's office on the
                                  approved form (copy attached) and deliver a courtesy, conformed copy to the
                                  assigned department;

                         ii.      Include a brief summary of the dispute and specify the relief requested; and

                        ill.      Serve the opposing party pUrsuant to any authorized or agreed method Of service
                                  that ensures that the opposing party receives the Request for informal Discovery
                                  Conference no later than the next court day following the filing.

                      b. Any Answer to a Request for Informal Discovery Conference must:

                         r."-- —Also be filed on the appici-iied form (copy attached);

                         ii.      include a brief summary of why the requested relief should be denied;
          LACIV 036 (new)
          LASC Approved 04/11                  STIPULATION — DISCOVERY RESOLUTION                                     Page 1 of 3
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                                                                                .CASOA1.44a,




                   iii.   Be filed within two(2)court days of receipt of the Request; and

                  iv.     Be served on the opposing party pursuant to any - authorized or agreed upon
                          method of service that ensures that the opposing party receives Old Answer no
                          later than the next court day following the filing.

             c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                be accepted.

             d. If the Court has not granted or denied the Request for informal Discovery Conference
                within ten (10) days following the filing of the Request, then it shall be deemed to have
                been denied. If the Court acts on the Request, the parties will be notified whether the
                Request for informal Discovery Conference has been granted or denied and, if granted,
                the date and time of the informal Discovery Conference, which must be within twenty (20)
                days of the filing of the Request for informal Discovery Conference.

             a. If the conference Is not held within twenty (20) days of the filing of the Request for
                Informal Discovery Conference, unless extended by agreement of the parties and the
                Court, then the Request for the Informal Discovery Conference shall be deemed to have
                been denied at that time.

         4. If(a) the Court has denied a conference or (b) one of the time deadlines above has expired
            without the Court having acted or (c) the Informal Discovery Conference Is concluded without
            resolving the dispute, then a party may file a discovery motion to address unresolved issues.

         5. The parties hereby further agree that the time for making a motion to compel or other
            discovery motion Is tolled from the date of filing of the Request for Informal Discovery
            Conference until (a) the request is denied or deemed denied or(b) twenty(20)days after the
            filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
            by Order of the Court.

             It is the understanding and intent of the parties that this stipulation shall, for each discovery
             dispute to which it applies, constitute a writing memorializing a "specific later date to which
             the propounding [or demanding or requesting] party and the responding party have agreed in
             writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
             2033.290(c).

         6. Nothing herein will preclude any party from applying ex pane for appropriate relief, including
            an order shortening time for a motion to be heard concerning discovery.

          7: Any party may. terminate this stipulation by giving twenty-one (21) days notice of intent to
             terminate the stipulation.

         8. References to "days" mean calendar days, unless otl-Terwise noted. if the date for performing
            any act pursuant to this stipulation falls on a Saturday, Sunday or Courtholiday, then the time_
            for performing-that act-shall be7extenc ti-Ito the next Colurt-d4-:




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          LASC Approved 04111        STIPULATION — DISCOVERY RESOLUTION                              Page 2 of 3
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         sem TOO:                                                        CASE ftJupER




         The following parties stipulate:

         Date:
                        (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
         Date:
                        (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
         Date:
                        (TYPE on PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
         Date:
                        (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
         Date:
                        (TYPE OR PRINT NAME)                   (ATTORNEY FOR
         Date:

                        (TYPE OR PRINT NAME)                   (ATTORNEY FOR
         Date:
                        (TYPE OR PRINT NAME)                   (ATTORNEY FOR




                    _


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         LASC Approved 04111           STIPULATION — DISCOVERY RESOLUTION                         Page 3(3(3
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            TELEPHONE NO.:                                    FAX NO.(Optional):
   E-MAIL ADDRESS (OplionaII:
      ATTORNEY FOR (Narnot:
  SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:


  DEFENDANT:

                                                                                                   CASE numdEft
                 STIPULATION AND ORDER — MOTIONS IN LIIVIINE


         This stipulation is Intended to provide fast and Informal resolution of evidentiary
         issues through diligent efforts to define and discuss such issues and limit paperwork.


         The parties agree that:

          1. At least       days before the final status conference, each party will provide all other
             parties with a list containing a one paragraph explanation of each proposed motion In
             limine. Each one paragraph explanation must identify the substance of a single proposed
             motion in limine and the grounds for the proposed motion.

         2. The parties thereafter will meet and confer, either in person or via teleconference or
            videoconference, concerning all proposed motions in limina. In that meet and confer, the
            parties will determine:

               a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                  stipulate, they may file a stipulation and proposed order with the Court.

                b. Whether any of the proposed motions can be briefed and submitted by means of a
                   short joint statement of issues. For each motion which can be addressed by a short
                   joint statement of Issues, a short joint statement of Issues must be flied with the Court
                   10 days prior to the final status conference. Each side's portion of the short joint
                   statement of issues may not exceed three pages. The parties will meet and confer to
                   agree on a date and manner for exchanging the parties' respective portions of the
                   short joint statement of Issues and the  _ process for filing the short joint statement of
                   Issues:- _ _

          3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
             a short joint statement of issues will be briefed and filed in a-ccordance with the California •
             Rules of Court and the Los Angeles Superior Court Rules.
                                     _ 17




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          LASC Approvod 0011                STIPULATION AND ORDER.- MOTIONS IN LIIVIINE                                        Pogo 1 of 2
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     rwiw
      The following parties stipulate:
                                                              --C4SC.13.11W




      Date:
                                                 >
                (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
      Date:

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
      Date:

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
      Date:

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
      Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
      Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
      Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR



      THE COURT SO ORDERS.

        Date:
                                                                  JUDICIAL OFFICER




                                                      -




      LACIV 075(new)
      LASC Approvod 0011   STIPULATION AND ORDER— MOTIONS IN LIMINE                  Pago 2 o12
